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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                            CASE NO. 05-80050-1

v.                                                   PAUL D. BORMAN
                                                     UNITED STATES DISTRICT JUDGE

DARNELL CARTER,

               Defendant,
                                      /


                          ORDER DENYING DEFENDANT’S
                  MOTION TO SUPPRESS ELECTRONIC SURVEILLANCE

       Defendant filed a Motion to Suppress the Electronic Surveillance Because of the Failure

to Establish an Adequate Statutory “Necessity.” More specifically, Defendant contends that

DEA Special Agent Debra Lynch acted out of what he terms “investigative greed rather than

need”, further elaborating:

               Special Agent Lunch (sic) apparently failed to recognize that the
               legal obligation to attempt normal investigative procedures was a
               continuing one which did not end with either the original order or
               first extension.

Defendant Carter’s Motion, P.2.

       Subsequent to the hearing on this Motion, the Court received for examination the relevant

Title III affidavits and orders, both redacted as provided to the Defendants, and unredacted, for

the Court’s in camera examination, to determine whether as Defendant contends:




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               both the government and the district judges [Hon. Bernard
               Friedman and Hon. Arthur Tarnow] who issued the orders ignored
               the restrictive purpose embodied in the statute, 18 U.S.C. §
               2518(1)©.

       Defendant asserts:

            Agent Lynch and her fellow agents failed to make meaningful
            attempts to actually utilize alternative investigative techniques.5
__________________________
            5
              Of course, it was holiday season.

Defendant Carter’s Memorandum in Support of Motion. Pp. 10-11.

       The Government filed a detailed 23 page Response in Opposition to Defendants.

Defendant thereafter filed a reply.

       Specifically, the Court has been provided with two very thick looseleaf notebooks, the

first containing the redacted wiretap applications and orders, and the second containing the

unredacted wiretap applications and orders.

       The Court has reviewed these matters.

       Having reviewed these notebooks, and the affidavits in particular, the Court concludes

that the Government has established the “necessity” for the original, and, thereafter, the

continuing orders.

       Specifically, in response to Defendant’s claims, the Court concludes that the discussion

of “necessity” beginning on page 37 of the December 23, 2004 Affidavit satisfies the necessary

requirements, and supports the Court’s decision to deny Defendant’s motion.*



       *
          The Court, having meticulously read the December 23, 2004 Affidavit in support of the
wiretap authorization notes that on page 25, the Government misspells the name of this judicial
district as “Easter” rather than “Eastern”. Perhaps Defendant would add this holiday to his
gratuitous footnote 5 on page 11 of his Memorandum, noted supra.

                                                 2
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       Accordingly the Court denies Defendant’s Motion to Suppress the Electronic

Surveillance.

       SO ORDERED.




                                            s/Paul D. Borman
                                            PAUL D. BORMAN
                                            UNITED STATES DISTRICT JUDGE

Dated: August 10, 2005

                                CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
August 10, 2005.


                                            s/Jonie Parker
                                            Case Manager




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